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 1                                                         MAGISTRATE JUDGE THEILER

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 6                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 7                                            AT SEATTLE

 8   UNITED STATES OF AMERICA,                     )
                                                   )
 9                          Plaintiff,             )       NO. CRO6-0220JLR
                                                   )
10                  v.                             )       ORDER MODIFYING
                                                   )       BOND
11   EUGENIO SORACCO, et al.                       )
                                                   )
12                          Defendants.            )       .
                                                       )
13
            This matter comes before the Court on the motion of defendant Eugenio Soracco for an order
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     modifying the appearance bond entered on August 3, 2006. The motion seeks to eliminate the condition
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     of electronic home monitoring. The Court, having considered the motion, now finds that modification of
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     the appearance bond would be appropriate and in the interest of justice. Now, therefore,
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            IT IS HEREBY ORDERED that defendant Eugenio Soracco’s request to modify his conditions
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     of release is granted. The order of August 3, 2006 shall be modified by striking the requirement of
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     electronic home monitoring. All other conditions of release previously set shall remain if effect.
20
            DONE this 2nd day of November, 2006.
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                                            A
                                          Mary Alice Theiler
                                           U.S. Magistrate Judge

25
     ORDER MODIFYING BOND                                                                  Walter G. Palmer Inc. P.S.
26                                                                                        1111 Third Avenue, #2220
                                                                                           Seattle, WA 98101-3207
                                                                                               (206) 442-9232
                                                                                            Fax: (206) 682-3746
            Case 2:06-cr-00220-JLR      Document 121   Filed 11/02/06   Page 2 of 2



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 2   Presented by:

 3   s/Walter G. Palmer
     WALTER G. PALMER
 4   Attorney for Defendant Soracco
     Washington State Bar Number 4756
 5   1111 3rd Avenue, Suite 2220
     Seattle, WA 98101-3207
 6   Telephone: 206/442-9232
     Facsimile: 206/682-3746
 7   E-Mail: wgpalmer@mindspring.com

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25
     ORDER MODIFYING BOND                                                    Walter G. Palmer Inc. P.S.
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